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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                         Before the Honorable John F. Robbenhaar
                                                  Initial Appearance - VSR
Case Number:                18-CR-4166 JBM                        UNITED STATES vs. Eriacho
Hearing Date:               10/14/2021                            Time In and Out:          9:34 a.m./9:41 a.m.
Courtroom Deputy:           K. Hernandez de Sepulveda             Courtroom:                Hondo via Zoom
                                                                                            Alejandro for purposes of this
Defendant:                  Carlandrew Eriacho                    Defendant’s Counsel:
                                                                                            hearing only
AUSA:                       David Cowen                           Pretrial/Probation:       Karina Villalobos
Interpreter:                N/A                                   Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant wants Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Preliminary Revocation/Detention Hearing            on Monday, October 18, 2021      @ 9:30 a.m.
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant
☐
Custody Status
      Defendant remanded to custody of United States
☒     Marshal's Service
☐     Conditions
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☒
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
